
679 So.2d 1 (1995)
Cynthia DAWSON-KNAPP, Appellant,
v.
STATE of Florida, Appellee.
No. 94-04145.
District Court of Appeal of Florida, Second District.
November 17, 1995.
PER CURIAM.
The defendant challenges an order rendered August 26, 1994, denying a motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800. The defendant filed a motion for rehearing on September 12, 1994, which was denied by order entered October 19, 1994. Because a motion for rehearing is not authorized by Rule 3.800, the time for filing a notice of appeal was not tolled. Further, the trial court's erroneous recital that the defendant had "thirty (30) days from the date of [the order denying rehearing] to appeal" did not toll the time for filing a notice of appeal. See Jones v. State, 635 So.2d 989 (Fla. 1st DCA 1994). Therefore, this appeal is untimely and must be dismissed for lack of jurisdiction.
APPEAL DISMISSED.
SCHOONOVER, A.C.J., and BLUE and FULMER, JJ., concur.
